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                In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-0752V
                                      (Not to be published)

*****************************
SELENA DESPOTOVIC,          *
                            *
                Petitioner, *                                      Filed: November 15, 2019
                            *
          v.                *                                      Decision by Stipulation; Damages;
                            *                                      Influenza (“Flu”) Vaccine; Hepatitis
                            *                                      A Vaccine; Meningococcal Vaccine.
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
*****************************

Diana L. Stadelnikas, Maglio Christopher and Toale, PA, Sarasota, FL, for Petitioner.

Glenn A. MacLeod, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                              DECISION ON JOINT STIPULATION1

         On June 7, 2017, Petitioner Selena Despotovic filed a petition seeking compensation under
the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Petition, ECF No.
1. Petitioner alleges that she developed chronic urticaria and angioedema as a result of receiving
the influenza (“flu”), Menactra, and Hepatitis A vaccinations on October 5, 2015. See Stipulation
¶ 2, 4, dated November 13, 2019 (ECF No. 42); See also Petition.



1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the ruling will be available to anyone with access to the internet. As provided
by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of certain
kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen days
within which to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes medical files or
similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine
Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-
10-' 300aa-34 (West 1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine
Act are to 42 U.S.C.A. ' 300aa.
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       Respondent denies “that the vaccines caused [P]etitioner’s alleged chronic urticaria and
angioedema, or any other injury, and further denies that her current disabilities are a sequela of a
vaccine-related injury.” See Stipulation ¶ 6. Nonetheless both parties, while maintaining their
above-stated positions, agreed in a stipulation filed November 13, 2019 that the issues before them
can be settled and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. Therefore, I adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

               a. a lump sum of $1,314.85, which amount represents reimbursement of a lien
                  for services provided to [P]etitioner, in the form of a check payable jointly to
                  [P]etitioner and

                               The Rawlings Company
                               Attn: Jeffery Bodnar
                               PO Box 2000
                               La Grange, KY 40031
                               File Number: 18FLM0600544

                   Petitioner agrees to endorse this payment to the Rawlings Company; and

               b. a lump sum of $40,000.00 in the form of a check payable to [P]etitioner.

Stipulation ¶ 8. This award represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk
of the court is directed to enter judgment herewith.3

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.

                                                  2
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